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           Non-Infringement MSJ
           (‘615 Patent, Claim 13)




                  Sonos, Inc. v. Google LLC.
                      Case: 6:20-cv-881



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Sonos Accuses Google’s YouTube and Google Play Music Applications




Phones Running YouTube Apps                             Phones Running Google Play Music




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                      ‘615 Patent




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‘615 Claims Directed At A “Local Playback Queue”
                                                                             REQUIREMENTS

                                                                      1) a local playback queue on
                                                                         the playback device
                                                                      2) adding resource locators to
                                                                         the local playback queue
                                                                         that correspond to locations
                                                                         of the multimedia content

                                          ’615 Patent at Claim 13




                                                                                        ’615 Patent at Fig. 2C
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             Google Does Not Infringe Claim 13




1   Google uses a cloud queue—not a local playback queue




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YouTube Does Not Infringe The ’615 Patent




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             Google Does Not Infringe Claim 13



1   YouTube receivers do not store a local playback queue




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Claim 13 Requires A Local Playback Queue On The Playback Device
                                                                                    REQUIREMENTS

                                                                              1) a local playback queue on
                                                                                 the playback device




                                                  ’615 Patent at Claim 13




                                                                                                ’615 Patent at Fig. 2C
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Claim Construction: “Playback Queue”




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“Playback Queue” Is An Ordered List Of Multimedia Items Selected By The User For Playback

                                                 ’615 Patent


                Google Construction                                        Sonos Construction

          an ordered list of multimedia                          Plain meaning [i.e., a data
          items that is selected by the                          construct that can contain one
          user for playback                                      or more resource locators]


                               Dkt No. 126 (Joint Claim Construction Statement) at p 12




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’615 Patent Uses “Playback Queue” Consistent With Google’s Construction

           “Playback Queue” Is Created And Edited Using Applications On The Controller




                                                                                            ’615 Patent at 16:25-31




                                                                                            ’615 Patent at 16:53-57




                                                                                            ’615 Patent at 17:12-15
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     A Collection Of Fixed Named Variables Is Not A Playback “Queue”

                           Bhattacharjee Declaration – Google’s Expert
A POSITA would not consider a fixed set of named variables to be a playback “queue.” For instance, Thomas
H. Cormen’s book Introduction to Algorithms (available here) includes a chapter describing “Elementary Data
Structures,” which describes “Queue.” Chapter 10. The books disclose exemplary implementations of a
Queue (e.g., an array or a linked list), each of which is a structure that can store items in a particular order.
Id. Tellingly, there is no example using a fixed set of named variables stored in memory.
                                                                              Google Op. Br., Ex. 1 at ¶70




                                                                                      Thomas H. Cormen, Introduction to Algorithms


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A Collection Of Fixed Named Variables Is Not A Playback “Queue”




                                                                    ’615 Patent at Fig. 2C

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Sonos Improperly Attempts To Eliminate The Requirement Of A Playback “Queue”


                                                                  data construct



                                                data construct




                     “In evaluating whether this element is satisfied, I applied the plain and ordinary meaning to the
                     term ‘local playback queue’ in the context of the ’615 Patent: a data construct[FN17] on the
                     playback device that can contain one or more resource locators (e.g., videoIds, URLs, or other
                     resource locators), where each resource locator corresponds to multimedia content (e.g., a
                     particular song or video) that the playback device is to playback.”
                                                                       ***
    Dr. Schmidt      FN 17: “[A] data construct can take the form of a single data variable, multiple data variables, a
  (Sonos’s Expert)   data array, or other data structure.”
                                                                                        Sonos Opp. Br., Ex. 1 at ¶69.

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  Sonos’ Interpretation Renders The Term “Queue” Meaningless
Almost any memory can store multimedia items, but memory is not a “queue”


             “RCDI asks us to instead construe the term to mean ‘a component that enables
             communication between a user and a dispenser.’… RCDI’s proposed
             construction reads out the term ‘interface’ in ‘user interface module.’
             Indeed, almost any component—for example, a processor, or even a power
             cord—can in its own way help to enable communication between a user
             and a dispenser. But processors and power cords are not interfaces. Our
             interpretation gives proper meaning to the term interface by requiring the user
             interface module to be a component that the user interacts with to effectuate
             communication with the dispenser, not merely a component that enables such
             communication.”

                           Merck & Co., Inc. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed.Cir. 2005)



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       Sonos Admits In Its IPR Response A
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Queue Is Not “Just Any ‘Storage Area’ Of A Device”




                                                                         Sonos’s IPR Response, Pg. 23-24



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Sonos’ Interpretation Renders The Term “Queue” Meaningless




        “A claim construction that gives meaning to all the terms of
        the claims is preferred over one that does not do so.”
                  Merck & Co., Inc. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed.Cir. 2005)




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Non-Infringement: Google Does Not Have A Local Playback Queue




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Google Uses A Cloud Queue—Not A “Local Playback Queue”




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                       Schmidt Declaration – Sonos’s Expert




 Dr. Schmidt
Sonos’s Expert

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              Google Does Not Infringe Claim 13



    YouTube receivers do not store a local playback queue
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YouTube Does Not Add The Claimed Items To The Local Playback Queue
                                                                                       REQUIREMENTS

                                                                                1) a local playback queue on
                                                                                   the playback device
                                                                                2) adding resource locators to
                                                                                   the local playback queue
                                                                                   that correspond to
                                                                                   locations of the
                                                                                   multimedia content
                                                    ’615 Patent at Claim 13




                                                                                                  ’615 Patent at Fig. 2C
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Claim Construction: “Resource Locator”




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“Resource Locator”
                                              ’615 Patents


             Google Construction                                            Sonos Construction

        An address of a resource on the                          Plain meaning (i.e., an identifier)
        Internet

                             Dkt No. 126 (Joint Claim Construction Statement), p 15




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               Claim Language Supports Google’s Construction




                                                                                              ’615 Patent at Claim 13



                                Kyriakakis Declaration – Google’s Expert
A POSITA would understand that the location of a resource on the Internet (such as the multimedia
content on the cloud servers) are given by a Uniform Resource Locator. See e.g., Microsoft Computer
Dictionary, Fifth Edition (2002) (defining URL as “[a]n address for a resource on the Internet. URLs are used
by Web browsers to locate Internet resources.”). (Ex. H, GOOG-SONOSNDCA-00056878 at 83)


                                                                      Dkt 184 (Google Opp. CC Brief), Ex. 7, Kyriakakis Decl. ¶59

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      Claim Language Supports Google’s Construction

Claims identify a “resource locator” as something different than an “identifier”




         * * *




                                                                                       ‘615 Patent Claim 20




                             ‘615 Patent Claim 13
                                                                                                              51
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                  Specification Supports Google’s Construction

                            Kyriakakis Declaration – Google’s Expert

“The term ‘resource locator’ appears in the ’615 Patent specification only as part of the
larger phrase ‘uniform resource locator (URL),’ which the patent describes as ‘specif[ying] an
address’ to an audio track in the cloud.”
                                                                      Dkt 184 (Google Opp. CC Brief), Ex. 7, Kyriakakis Decl. ¶61




                                 ’615 Patent at 11:45-12:3                                                     ’615 Patent at 12:44-67




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  “Resource Locator” Is Synonymous With “Uniform Resource Locator”


                            Kyriakakis Declaration – Google’s Expert

• Term “resource locator” is shorthand for a “uniform resource locator”

• Technical dictionaries define “resource locator” only as part of the phrase "uniform resource
  locator”



                                                                       Dkt 184 (Google Opp. CC Brief), Ex. 7, Kyriakakis Decl. ¶57




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Non-Infringement: Google Does Not Add Resource Locators To A Playback
                               Queue




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Google Play Music Does Not Infringe The ’615 Patent




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YouTube Does Not Infringe Under DoE




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Sonos’ Local Playback Queue DoE Argument Is Barred By Estoppel


                                     “local playback queue” limitation was a narrowing
                                        amendment made to overcome the prior art




                                                                                ‘615 File History, Office Action Response,
                                                                                SONOS-SVG2-00004216 at 5288-9




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Sonos’ Resource Locator DoE Argument Is Barred By Estoppel



                                       “resource locator” limitation was a narrowing amendment
                                                    made to overcome the prior art




   Google’s Reply Br., Ex. 5 p 2
                                                                                                 67
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Festo Presumption Applies And Bars Sonos’s Equivalents Arguments


           “The patentee, as the author of the claim language, may be expected to draft
           claims encompassing readily known equivalents. A patentee's decision to
           narrow his claims through amendment may be presumed to be a general
           disclaimer of the territory between the original claim and the amended
           claim…. When the patentee has chosen to narrow a claim, courts may presume
           the amended text was composed with awareness of this rule and that the
           territory surrendered is not an equivalent of the territory claimed…. the
           patentee still might rebut the presumption that estoppel bars a claim of
           equivalence. The patentee must show that at the time of the amendment
           one skilled in the art could not reasonably be expected to have drafted a
           claim that would have literally encompassed the alleged equivalent.

                          Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 741 (2002)



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Sonos Fails To Rebut The Festo Presumption



“We disagree with Millipore and conclude that it was unnecessary for the
district court to perform a doctrine of equivalents analysis because
prosecution history estoppel bars Millipore's arguments…. These
amendments were added to overcome a previous rejection. And to the extent
this statement is ambiguous, we note that the Supreme Court has stated
‘[w]here no explanation is established ... the court should presume that
the patent applicant had a substantial reason related to patentability for
including the limiting element added by amendment.’”

               EMD Millipore Corp. v. AllPure Tech., Inc., 768 F.3d 1196, 1203 (Fed. Cir. 2014)




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Sonos’ Conclusory DoE Arguments Fails To Raise A Genuine Issue Of Material Fact




                   “Moreover, conclusory statements regarding equivalence
                   are not enough to warrant a remand on that issue, as
                   they do not raise any genuine issues of material fact.”

                       PC Connector Solutions LLC v. SmartDisk Corp., 406 F.3d 1359, 1364 (Fed. Cir. 2005)




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                 Invalidity MSJ
            (’615 Patent, Claim 13)




                           July 13, 2022
                      Google, LLC v. Sonos, Inc.
                        Case: 2:20-cv-06754




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‘615 Patent: “Local Playback Queue”




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                                                       Claim 13 Of The ‘615 Patent
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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             YouTube Remote Was Released on November 9, 2010

Google submitted unrebutted testimony from Google engineers that worked on the YouTube Remote




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      Prior Art YouTube Remote System
                   GOOG-SONOS-WDTX-INV-00015101




https://www.youtube.com/watch?v=EGdsOslqG2s (Video Uploaded 11/14/2010)
                        Google MSJ Op. Br., Ex. 1 at ¶124


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                                          Prior Art YouTube Remote System



                                     Control Device
                                                                                                         Playback Device




 Google MSJ Op. Br., Ex. 1 at ¶125
GOOG-SONOS-WDTX-INV-00015101

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                                                   Prior Art YouTube Patent




Filing date:       March 7, 2011
Priority date: Nov 8, 2010 (Prov 61/411,386)                                                                   Fig. 1.

Inventors:         Daniel Danciu, Yaniv Bernstein,
                   Ramona Bobohalma, Oliver
                   Heckmann, Jasmine Langridge,
                   Alin Sinpalean.
          Google MSJ Op. Br., Ex. 1 at ¶¶146-149

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                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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              Limitation     13.2 Is Disclosed By YouTube Remote
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Google submitted prior art video showing phone and identified screen on the same wi-fi


                                                                   1. “Make sure you are both
                                                                      on the same Wi-Fi”

                                                                   2. Sends video from Wi-Fi-
                                                                      connected phone to Wi-
                                                                      Fi connected TV

              See https://youtube/EGdsOslqG2s?t=56 (“YTR Video”)   3. Controls video on TV with
                       Google MSJ Op. Br., Ex. 1 at ¶124
                                                                      the YTR application
                                                                             Google MSJ Reply Br., at pp 9-10

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             Limitation 13.2 Is Disclosed By The YouTube Remote Patent




                         ‘998 Patent at 8:11-12



“network 22” may be “a packet-based
network, such as a local area network,
a wide-area network, or a global
network such as the Internet.”
                     ‘998 Patent at 6:14-33.




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              Limitation 13.2 Is Disclosed By Apple Airplay



    Apple AirPlay
                                                          ● Undisputed that Airplay discloses this
                                                            limitation


                                                          ● Both widely available and oft-compared
                                                            products that did essentially the same
                                                            thing—sending video from a mobile device
                                                            to a TV


 Google MSJ Op. Br., Ex. 1 at ¶ 30,
GOOG-SONOS-WDTX-INV-00000569


                                                                                           Google MSJ Reply Br., at pp 10-11

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                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

                                                                                                                                                                 16
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               Limitation 13.4 Is Disclosed By YouTube Remote




                                                                          Menu button brings up a
                                                                          “Connect” button that is
                                                                          selected to transfer playback to
                                                                          one or more playback devices




Google MSJ Op. Br., Ex. 1 at ¶159 (GOOG-SONOS-WDTX-INV-00015101)




                                                                                                             17
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Limitation 13.4 Is Disclosed By The YouTube Remote Patent

       YTR Patent




                             ‘998 Patent at 8:11-12




                          ‘998 Patent at 10:62-11:6
                   Google MSJ Op. Br., Ex. 1 at ¶169           Google MSJ Op. Br., Ex. 1 at ¶170, Ex. 14 (WayBack Capture)
                                                                        GOOG-SONOS-NDCA-00108095 at 114

                                                                                                                             18
                          Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 91 of 212
                  Limitation 13.4 Is Disclosed By Apple Airplay

• Apple AirPlay Allowed User To Select A Playback Device For Transferring Playback Using A Device-Picker
  Screen




               Google MSJ Op. Br., Ex. 1 at ¶30
               GOOG-SONOS-WDTX-INV-00000569 (Hidden Secrets of Airplay, 11/23/2010)
               (image annotated above to add red and purple boxes).




                                                                                                           19
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         Limitation 13.4 Is Disclosed By Sonos Prior Art

• Sonos Prior Art Products Also Allowed A User To Select A Speaker Or Group Of Speakers
  (E.g., Kitchen Or Living Room) For Transferring Playback Using A Device-Picker Screen




        Sonos Video (https://www.youtube.com/watch?v=aCWcl_f_uS0) at 0:57
        (uploaded, June 22, 2010)                   Google MSJ Op. Br., Ex. 1 at ¶34
                                                               GOOG-SONOS-WDTX-INV-00015077

                                                                                              20
                     Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 93 of 212
            Limitation 13.4 Is Disclosed By Project Tungsten

• May 2011 Google I/O Unveiled “Project Tungsten” Which Allowed Users To Select A Speaker (StageLeft
  Or StageRight) For Transferring Playback Using A Device-Picker Screen




        “When Anand tapped on those buttons [on the tablet], the music stream
        was sent transparently from one box to another. Since the boxes are
        running Android, they just pull the music directly from the music library in
        the cloud.”
                                                                           Google MSJ Op. Br., Ex. 1 at ¶28
                                                 (GOOG-SONOS-WDTX-INV-00015090) at 47:01 (left) and 48:19 (right)

                                                                                                                    21
                                         Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 94 of 212
                                     Limitation 13.4 Is Disclosed By Al-Shayk

         • Renderer Menu 75 (Device-Picker) Allowed For Selection Of A Particular Playback Device




Google MSJ Op. Br., Ex. 1 at ¶33, Google Reply Br. p 13
          U.S. Patent Pub. 2011/0131520

                                                                                                               22
                                                              Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 95 of 212
       Device-Picker Was Also A Well-Known Feature In Many Prior Art References

                                         Device-Pickers were disclosed in various prior art systems and patents


  YTR Patent                                 Apple AirPlay                         Google Tungsten                     Sonos Prior Art                        Al-Shayk




                                    Google MSJ Op. Br., Ex. 1 at ¶30, Ex. 12   Google MSJ Op. Br., Ex. 1 at ¶28
                                     GOOG-SONOS-WDTX-INV-00000569               GOOG-SONOS-WDTX-INV-                Google MSJ Op. Br., Ex. 1 at ¶34   Google MSJ Op. Br., Ex. 1 at ¶33
                                                                                        00015090                  GOOG-SONOS-WDTX-INV-00015077         U.S. Patent Pub. 2011/0131520

       ‘998 Patent at 10:62-11:6
Google MSJ Op. Br., Ex. 1 at ¶169




                                                                                                                                                                                   23
                            Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 96 of 212
                                                                                               e-Picker Screen




I also understand that the functionality was released in a January 2012
update, as can be seen in the image on the right, taken from a February 2,
2012 capture from the Internet Archive’s Way Back Machine.
                                                   Google MSJ Op. Br., Ex. 1 at ¶170




                                                                                         Google MSJ Op. Br., Ex. 1 at ¶170, Ex. 14 (WayBack Capture)
                                                                                                  GOOG-SONOS-NDCA-00108095 at 114


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                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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Limitation 13.5(b) Is Disclosed By The YouTube Remote
   The YouTube Remote Application Stops Playback And Controls The Screen




                                                       Google MSJ Op. Br., Ex. 1 at ¶136
                                                      GOOG-SONOS-WDTX-INV-00015101


https://www.youtube.com/watch?v=EGdsOslqG2s (uploaded 11/14/210) at 1:00-1:30
                                                                                           28
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                                                                       30
                                             Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 103 of 212
                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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                                             Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 104 of 212
                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
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13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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               Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 105 of 212
Limitations 13.5 and 13.6 Are Disclosed By YouTube Remote



                            ► Sonos ignores (and does not dispute) that disclosures in
                              the YTR API document and source code demonstrate
                              Limitations 13.5 and 13.6 are met

                            ► Sonos instead argues Google has presented “insufficient
                              corroboration” tying the documents to the first release
                              of the YouTube Remote (November 9, 2010)




      Sonos Opp. Br. p 18
                                                                                         33
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Limitations 13.5 and 13.6 Are Disclosed By YouTube Remote




                          Undisputed testimony confirms YouTube Remote API
                          describes the first release of the YouTube Remote application




                                                                                  Google MSJ Op. Br., Ex. 11 at ¶9




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                                            Claim 13 Of The ‘615 Patent Is Invalid
CLAIM 13
13[pre]. A tangible, non-transitory computer readable storage medium including instructions for execution by a processor, the instructions, when executed,
         cause a control device to implement a method comprising:

13.1 causing a graphical interface to display a control interface including one or more transport controls to control playback by the control device;

13.2 after connecting to a local area network via a network interface, identifying playback devices connected to the local area network;

13.3 causing the graphical interface to display a selectable option for transferring playback from the control device;

13.4 detecting a set of inputs to transfer playback from the control device to a particular playback device, wherein the set of inputs comprises: (i) a
     selection of the selectable option for transferring playback from the control device and (ii) a selection of the particular playback device from the
     identified playback devices connected to the local area network:
13.5 after detecting the set of inputs to transfer playback from the control device to the particular playback device, causing playback to be transferred from
     the control device to the particular playback device, wherein transferring playback from the control device to the particular playback device comprises:
      (a) causing one or more first cloud servers to add multimedia content to a local playback queue on the particular playback device, wherein adding the
          multimedia content to the local playback queue comprises the one or more first cloud servers adding, to the local playback queue, one or more
          resource locators corresponding to respective locations of the multimedia content at one or more second cloud servers of a streaming content
          service;

      (b) causing playback at the control device to be stopped; and

      (c) modifying the one or more transport controls of the control interface to control playback by the playback device; and

13.6 causing the particular playback device to play back the multimedia content, wherein the particular playback device playing back the multimedia
     content comprises the particular playback device retrieving the multimedia content from one or more second cloud servers of a streaming content
     service and playing back the retrieved multimedia content.

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                 Invalidity MSJ
             (’885 Patent, Claim 1)




                           July 13, 2022
                      Google, LLC v. Sonos, Inc.
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Claim 1 of the ’885 Patent is Unpatentable
            Under 35 U.S.C. 101




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Step 1: The Claim is Directed to an Abstract Idea




                                                                                 3
                    Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 113 of 212
Legal Standard: Step One Analyzes If the Claim Is Directed To An Abstract Idea

                                            Alice Step One



                 First, the court must identify whether a claim is directed to an
                 abstract idea. To do this, the court must identify the purpose of
                 the claim—in other words, what the claimed invention is trying to
                 achieve—and ask whether that purpose is abstract. . . . After
                 determining the claim’s purpose, the court then asks whether this
                 purpose is abstract. Age-old ideas are likely abstract, in addition
                 to basic tools of research and development, like natural laws and
                 fundamental mathematical relationships.
                      California Inst. of Tech. v. Hughes Commc’ns Inc., 59 F. Supp. 3d 974, 991 (C.D. Cal. 2014)




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        Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 114 of 212
The Inventors Did Not Invent Speaker Groups or Zones




                                                                    ’885 Patent at 1:62-2:17

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The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 115 of 212 the Grouping of
                     Speakers for Simultaneous Playback
      Sonos argues that the invention innovated over conventional systems with wireless connections
                  and internet media rather than speaker wires and local audio sources




                                                                                       Sonos’s Technology Tutorial

                                                                                                                     6
                            Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 116 of 212
 Making Speaker Grouping Wireless is Not Claimed and is an Abstract Idea

           Merely making existing speaker groups wireless is an abstract idea (and not claimed)



’885 Patent is not limited to wireless systems                     Wireless capability alone is insufficient



                                                                               “The broad concept of communicating
                                                                               information wirelessly, without more, is
                                                                               an abstract idea.”
                                                                                   Sensormatic Elecs., LLC v. Wyze Labs, 25 Inc., No.
                                                                                                2020-2320, 2021 WL 2944838, at *3
                                                                                                             (Fed. Cir. July 14, 2021)
                                       ’885 Pat., 4:62-67




                                                                                                                                         7
Legal Standard: An
                Case Abstract
                     3:20-cv-06754-WHAIdea   Is323-1
                                       Document One  FiledThat
                                                          08/15/22 Includes
                                                                    Page 117 of 212 Tasks Relying on

           Known Hardware Used in Its “Ordinary Capacity”
        Unpatentable Abstract Idea vs. Patentable Improvement In Computer Functionality


           Is the claimed invention directed to “technical details of the [claimed] components” or are the
           claimed elements described in “purely functional terms”?
                     Dropbox, Inc. v. Synchronoss Techs., Inc., 371 F. Supp. 3d 668, 687 (N.D. Cal. 2019), 815 F. App’x 529 (Fed. Cir. 2020)



           Are the claims “directed to the use of conventional or generic technology in a nascent but well-
           known environment, without any claim that the invention reflects an inventive solution to any
           problem presented by combining the two?” . . . Limiting “the abstract idea to a particular
           environment” . . . “does not make the claims any less abstract for the step 1 analysis.”
                                                               In re TLI Commc’ns LLC Pat. Litig., 823 F.3d 607, 612-613 (Fed. Cir. 2016).



           Is the “plain focus of the claims is on an improvement to computer functionality itself,” or is the
           claim directed to “tasks for which a computer is used in its ordinary capacity.”
                                                                   Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335–36 (Fed. Cir. 2016)


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The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 118 of 212 the Grouping of
                     Speakers for Simultaneous Playback
                       The ’885 patent claims cover using speaker groups together




  Claim 1 covers three
  functional steps:




                                                                                        ’885 Patent

                                                                                                          9
The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 119 of 212 the Grouping of
                     Speakers for Simultaneous Playback
                       The ’885 patent claims cover using speaker groups together




                                        (1) receiving notice of being added to a
                                        first "zone scene" with a second player
  Claim 1 covers three
  functional steps:




                                                                                        ’885 Patent

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The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 120 of 212 the Grouping of
                     Speakers for Simultaneous Playback
                       The ’885 patent claims cover using speaker groups together




  Claim 1 covers three
  functional steps:                                (2) receiving notice of being added to a
                                                   second "zone scene" with a third player




                                                                                              ’885 Patent

                                                                                                            11
The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 121 of 212 the Grouping of
                     Speakers for Simultaneous Playback
                        The ’885 patent claims cover using speaker groups together

                    (3)(3) once
                        once     one
                               one  ofof
                                      thethe  "zone
                                           "zone      scenes"
                                                   scenes"  hashas been
                                                                 been
                      selected,transitioning
                    selected,    "transitioning"
                                               from from  operating
                                                      operating  as aas a
                   standalone
                    standaloneplayer
                                  playertotoplaying
                                             playingmedia
                                                       mediaininsynchrony
                                                                 synchrony
                    with with   at least
                           at least      one
                                    one of  theofother
                                                  the other  players.
                                                        players

  Claim 1 covers three
  functional steps:




                                                                                        ’885 Patent

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The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 122 of 212 the Grouping of
                     Speakers for Simultaneous Playback
             The specification describes the relevant technology as controlling speaker groups




                                                                                       ’885 Patent at 2:36-37




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The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 123 of 212 the Grouping of
                     Speakers for Simultaneous Playback
        Sonos agrees that the alleged invention solves “problems related to grouping zone players”




                                                      Sonos Inc. v. Google LLC, No. 4:21- cv-07559, Second Amended Complaint,
                                                                                            Dkt. 51 ¶ 75 (N.D. Cal. Feb. 23, 2021)




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The Alleged InventionCaseis3:20-cv-06754-WHA
                             the Abstract          Idea
                                             Document       of 08/15/22
                                                      323-1 Filed “Computerizing”
                                                                        Page 124 of 212 the Grouping of
                     Speakers for Simultaneous Playback
                    The invention allegedly facilitates dynamic management of groups




                                                                                       ’885 Patent at 2:20-24




                                                                                       ’885 Patent at 2:13-17

                                                                                                                15
Sonos argues that adding      computerized
                   Case 3:20-cv-06754-WHA Document 323-1technology           was
                                                         Filed 08/15/22 Page 125 of 212the improvement of

       “zone players” and “zone scenes” over conventional systems



                                        [C]laim 1 recites a “zone player” in a “networked media playback
                                        system” . . . that improves upon “conventional multi-zone audio
                                        system[s] comprised of “audio players” that were connected by speaker
                                        wire to a centralized A/V receiver and did not have the capability to
                                        communicate over a data network or process digital data . . .



                                        [T]his “zone scene” technology provides additional improvements
                                        over “conventional multi-zone audio system[s],” which were
                                        “hard-wired,” “pre-configured,” and “pre-programmed” in a way
                                        that made it “inconvenient” (if not impossible) to group “audio
                                        players” for playback. ’885 Pat., 1:63-24.

                                                                                          Sonos Reply ISO of MSJ at 13




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                                                                       18
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Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 130 of 212




                                                                       21
         Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 131 of 212
Computerizing Speaker Grouping is an Abstract Idea

              The mere automation of manual processes
  using generic computer components is directed to an abstract idea


   [C]laim 1, together with the specification, makes clear that the focus of
   the claimed advance is simply the abstract idea of automating the
   AV-captioning process. That process . . . is not itself asserted to be an
   advance over the prior art. The focus is not any specific improved
   computer techniques for performing those functions—functions
   intrinsic to the concept of AV captioning—but simply the use of
   computers to “conserve human resources” by automating work
   otherwise performed through human labor.
                                           Enco Sys., Inc. v. DaVincia, LLC, 845 Fed. App’x 953, 957 (Fed. Cir. 2021)




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       Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 132 of 212
Computerizing Speaker Grouping is an Abstract Idea

     Sonos agrees that mere automation of manual processes
         using generic computer components is abstract




              Sonos, Inc. v. Google LLC, No. 3:20-cv-03845-EMC, Dkt. 39 at 10 (N.D. Cal. Sept. 10, 2019)


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Sonos’s Alleged Innovation          FailsDocument
                  Case 3:20-cv-06754-WHA   Because          it08/15/22
                                                  323-1 Filed   DependsPage 133 of on
                                                                                   212 User’s Subjective

                                       State of Mind
      To meet the required “zone scene,” Sonos accuses the user’s subjective mental state when
                        naming a group of speakers—which is not patentable




                                                                  Sonos’s Infringement Contention Chart for ’885 Patent, Dkt. 175-28
                                                                                                                                 24
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 134 of 212




                                                                       25
         Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 135 of 212
A “Mental Process” Is an Unpatentable Abstract Idea



  [T]he asserted claims are directed to the process of inference, which is
  fundamental to [integrated chip] design and can be performed mentally.
  The claims describe, in essence, various algorithms for determining the
  hardware components and layout of an [integrated chip] from a user’s
  description of what the user needs the chip to do, i.e., the “specified
  signals and circumstances under which the signal are produced.” . . . In
  other words, the claims are directed to a mental process. A “mental
  process is a subcategory of unpatentable abstract ideas.” . . . The
  asserted claims, like those in Alice and Mayo, add nothing other than a
  way to implement that mental process on a computer.
                                           Synopsys, Inc. v. Mentor Graphics Corp., 78 F. Supp. 3d 958, 965
                                                     (N.D. Cal. 2015), aff’d, 839 F.3d 1138 (Fed. Cir. 2016)

                                                                                                               26
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 136 of 212
       D&M Holdings is Inapposite


                              Different patents


                              Out of circuit


                              Not binding precedent


                              Claimed “controller” and “user interface”
                              limitations were held unconventional


                               Different construction of audio “players”

                      Sonos, Inc. v. D&M Holdings, Inc., No. CV 14-1330-RGA, 2017 WL 971700 (D. Del. Mar. 13, 2017)

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                               Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 137 of 212
             Sonos’s Alleged “comparable claims” Are Distinguishable

CardioNet, LLC v. InfoBionic, Inc., 955 F.3d 1358 (Fed. Cir. 2020)
• “The '207 patent describes cardiac monitoring systems and techniques for detecting and distinguishing atrial fibrillation and
   atrial flutter from other various forms of cardiac arrythmia.”

Huawei Techs., Co, Ltd v. Samsung Elecs. Co, Ltd., No. 3:16-CV-02787-WHO, 2016 WL 6834614, at *1 (N.D. Cal. Nov. 21, 2016)
(citations omitted)
• “The ‘892 and’239 patents, which Samsung moves to dismiss, aim to reduce signal interference when a mobile device
    connects to a cellular network. This process involves a series of steps, termed a ‘random access procedure.’”

MicroPairing Techs. LLC v. Am. Honda Motor Co., No. CV 21-4034JVS(KESX), 2021 WL 6618817, at *1 (C.D. Cal. Dec. 9, 2021)
(cleaned up)
• “U.S. Patent No. 6,778,073 (the '073 Patent) is directed to ‘[a] vehicle audio system [that] includes a wireless audio sensor
    configured to wirelessly detect different portable audio sources brought into the vehicle.’ From the audio sources detected,
    the system plays audio based on assigned priority values.”

M2M Sols. LLC v. Sierra Wireless Am., Inc., No. CV 14-1102-RGA, 2020 WL 7767639, at *9 (D. Del. Dec. 4, 2020), report and
recommendation adopted, No. 14-CV-01102-RGA, 2021 WL 7441706 (D. Del. Mar. 31, 2021)
• “The claims are drawn to a specific programmable communicator device configured in a particular manner to send outgoing
   wireless transmissions, using a memory to store a telephone number or IP address included within a transmission if the
   processing module authenticates the transmission with a coded number.”
                                                                                                         Sonos Reply ISO of MSJ at 14

                                                                                                                                        28
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Step 2: The Claim Lacks a Transformative Inventive Concept




                                                                                  29
Legal Standard: Step Two   Requires a Transformative
                      Case 3:20-cv-06754-WHA                          Inventive
                                             Document 323-1 Filed 08/15/22 Page 139 of Concept
                                                                                       212     That Is Different
      From the Well Understood, Routine, and Conventional Elements of the Claim




                       The second step of the § 101 analysis requires us to determine whether
                       the claim elements, when viewed individually and as an ordered
                       combination, contain “an inventive concept sufficient to transform the
                       claimed abstract idea into a patent-eligible application.” Alice, 134
                       S.Ct. at 2357. A claim contains an inventive concept if it “include[s]
                       additional features” that are more than “well-understood, routine,
                       conventional activities.”
                                Smart Sys. Innovations, LLC v. Chicago Transit Auth., 873 F.3d 1364, 1373-74 (Fed. Cir. 2017)




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             Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 140 of 212
Legal Standard: Step Two Can Be Resolved as a Matter of Law

         No genuine issue of material fact regarding invalidity exists


         Whether a claim recites patent eligible subject matter is a question of
         law which may contain disputes over underlying facts. Patent
         eligibility has in many cases been resolved on motions to dismiss
         or summary judgment. Nothing in this decision should be viewed
         as casting doubt on the propriety of those cases. When there is no
         genuine issue of material fact regarding whether the claim element or
         claimed combination is well-understood, routine, conventional to a
         skilled artisan in the relevant field, this issue can be decided on
         summary judgment as a matter of law.
                                                    Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018)




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                             Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 141 of 212
                        Generic Computer Hardware is Insufficient

                The asserted claims rely on generic and conventional computer hardware

                                                                                             GENERIC COMPUTER
network interface              data network
                                                                                                 HARDWARE
          computer-readable medium

          processors          zone player                  • “[C]laims[] which merely require generic computer
                                                             implementation[] fail to transform that abstract idea into
                                                             a patent-eligible invention.”
                                                                                              Alice Corp. v. CLS Bank Int’l, 573 U.S. 208, 221 (2014)

                                                           • “[M]ere recitation of concrete, tangible components is
                                                             insufficient … where those components merely perform
                                                             their    ‘well-understood,    routine,    conventional’
                                                             functions.’”
                                                                               In re TLI Commc'ns LLC Pat. Litig., 823 F.3d 607, 613 (Fed. Cir. 2016)

                                                           • “[I]mprovements that come with the incorporation of a
                                                             computer fail to qualify as an inventive concept.”
                                                        People.ai, Inc. v. SetSail Techs., Inc., 2021 WL 5882069, *10 N.D. Cal. (Dec. 13, 2021) (Alsup, J.)


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Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 142 of 212




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              Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 143 of 212
       Claim 1 Covers an Unpatentable Abstract Idea



    Claim 1 covers the abstract idea of computerizing speaker groups for
1   synchronous playback



    Claim 1 adds nothing more than conventional and well understood computer
2   functionality such as saving and dynamic access



    The patent and Sonos’s own documents confirm that the alleged novel
3   features were routine and conventional




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Claim 1 of the ’885 Patent is Invalid Under 35 U.S.C. 112




                                                                                     35
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    Written Description: Legal Standard




In determining whether the written description
requirement is met, we consider “whether the disclosure
of the application relied upon reasonably conveys to those
skilled in the art that the inventor had possession of the
claimed subject matter as of the filing date.”
Gen. Hosp. Corp. v. Sienna Biopharmaceuticals, Inc., 888 F.3d 1368, 1371 (Fed. Cir. 2018) (quoting
            Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc)).




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                              Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 146 of 212
                                 ’885 Patent Prosecution Timeline

September 2006
Original filing date



                                                              Family patent filings




2006        2007       2011   2013        2014         2015           2016        2017        2018           2019         2020        2021



                                                                                               April 2019           Aug. 2019     Nov. 2020
                                                                                             ’885 patent            ’885 patent   ’885 patent
                                                                                         application filed          claim         issues
                                                                                                                    amendment




                                                                                                                                          37
     Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 147 of 212
         August 2019 Claim Amendment
Sonos for the first time adds the ‘standalone mode’ limitations




                                                            ’885 Pat. FH, 2019-08-13 Claim Amendment.   38
No Disclosure That a Case
                     Zone       Player Remains
                          3:20-cv-06754-WHA                In 08/15/22
                                            Document 323-1 Filed Standalone
                                                                       Page 148 of 212Mode Once Added to

      a Group or “Transitions” To Group Mode Only “After Invocation”



                                     The claims require:
                                     “continuing to operate in the standalone mode until a
                                     given one of the first and second zone scenes has been
                                     selected for invocation”
                                     and
                                     “transitioning from operating in the standalone mode to
                                     operating in accordance with the given one of the first
                                     and second predefined groupings of zone players.”




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No Disclosure That a Case
                     Zone       Player Remains
                          3:20-cv-06754-WHA                In 08/15/22
                                            Document 323-1 Filed Standalone
                                                                       Page 149 of 212Mode Once Added to

      a Group or “Transitions” To Group Mode Only “After Invocation”
                                                           Provisional Application Appendix:



 “Standalone mode” is never
 mentioned in the specification
 nor is “transitioning.”



                  None of the three
                 options were claimed




                                                                                      Google Opp., Ex. 7 at 537

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                   Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 150 of 212
The Four Corners of the Specification Must Show Possession of the Invention




               Whatever the specific articulation, the test requires an
               objective inquiry into the four corners of the specification
               from the perspective of a person of ordinary skill in the art.
               Based on that inquiry, the specification must describe an
               invention understandable to that skilled artisan and show
               that the inventor actually invented the invention claimed.
                                Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010)




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Sonos Does Not Identify    Transitioning
                   Case 3:20-cv-06754-WHA DocumentZone      Players
                                                  323-1 Filed 08/15/22 Pagefrom
                                                                            151 of 212Standalone to Group

               Mode Upon “Invocation” in the Specification


 Sonos’s citations to the specification
 only describe creation of a zone
 scene—not that the zone scene is
 created for future use and inactive.

 Sonos cites nothing in the
 specification that a “standalone”
 speaker continues playing back
 when added to a group or that it
 only transitions to group playback
 when the new group is “invoked.”

 Sonos relies on its expert instead.



                                                                                Sonos Reply ISO of its MSJ at 11-12

                                                                                                                      42
Sonos Does Not Identify    Transitioning
                   Case 3:20-cv-06754-WHA DocumentZone      Players
                                                  323-1 Filed 08/15/22 Pagefrom
                                                                            152 of 212Standalone to Group

               Mode Upon “Invocation” in the Specification




                                                                                        ’885 Patent at 8:45-51.




Sonos Reply ISO of its MSJ at 11-12
                                      ?



                                                                                        ’885 Patent at 10:4-19

                                                                                                                  43
Sonos Does Not Identify    Transitioning
                   Case 3:20-cv-06754-WHA DocumentZone      Players
                                                  323-1 Filed 08/15/22 Pagefrom
                                                                            153 of 212Standalone to Group

               Mode Upon “Invocation” in the Specification




                                                                                      ’885 Patent at 10:36-52.


Sonos Reply ISO of its MSJ at 11-12

                                      September 19, 2019




                                                                                      ’885 Patent at 11:12-19.

                                                                                                                 44
   Sonos Was Not in Possession           of Document
                     Case 3:20-cv-06754-WHA the August            2019Page
                                                     323-1 Filed 08/15/22 Claim
                                                                           154 of 212Amendment At the

              Time of the Original Filing 13 Years Prior in 2006

September 2006                        June 2014
Original filing date                  Google’s presentation
                                      to Sonos




2006        2007       2011   2013   2014      2015           2016   2017        2018           2019         2020        2021



                                                                                  April 2019           Aug. 2019     Nov. 2020
                                                                                ’885 patent            ’885 patent   ’885 patent
                                                                            application filed          claim         issues
                                                                                                       amendment




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             Noninfringement MSJ
             (’885 Patent, Claim 1 )



                           July 13, 2022
                      Google, LLC v. Sonos, Inc.
                         Case: 2:20-cv-06754




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Claim 1 of the ’885 Patent Is Not Infringed




                                                                             2
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    Google Does Not Infringe the ’885 Patent




1   Google Products Do Not Contain a “Zone Scene”




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        Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 163 of 212
Accused Products: Devices with the Google Home App




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’885 Patent: Zone Scene Management




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          Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 165 of 212
“Zone Scene” Was Construed by the Western District Court

         Sonos Never Formally Sought Reconsideration




                                                                W.D. Tex. Dkt. 106 (Markman Hearing Tr.) at 38:1-3




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  Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 166 of 212
The Prior Construction Is Law of the Case




A court has the power to revisit prior decisions of its own
or of a coordinate court in any circumstance, although as
a rule courts should be loathe to do so in the absence of
extraordinary circumstances such as where the initial
decision was “clearly erroneous and would work a
manifest injustice.”
                Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 817–18 (1988)




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                 Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 167 of 212
                          ’885 Patent: “Zone Scene”



        Google Construction                                       Sonos Construction

“a previously saved grouping of zone                  “a previously-saved grouping of zone
players according to a common                        players that are to be configured for
theme”                                               synchronous playback of media when
                                                     the zone scene is invoked”


                                           Dispute
                      Whether a “scene” is merely a group




                                                                                             8
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          The ’885 Patent – Claim 1




                                                                       9
      Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 169 of 212
’885 Patent: “Zone” Is Defined in the Specification




                                                                             ’885 Patent at 4:44-48




                                                                                ’885 Patent, 2:4-41




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       Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 170 of 212
                     Illustration of “Zone”




Zone




                                                                              11
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Both Parties Agree That “Zone Scene” Is a Coined Term




 “the parties agree that ‘zone scene’ is a coined term.”
                                                               W.D. Tex. Sonos Reply Claim Constr. Br. at 7




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             Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 172 of 212
Coined Terms Must Be Construed According to the Specification

            “Both parties agree that the term NSP is a coined term, without a meaning apart
            from the patent. As construed, all the asserted claims involve communicating with
            the ASP through a connection established by the NSP. We therefore look to the
            specification to determine what the NSP must do when establishing that
            communication link.”
                                         MyMail, Ltd. v. America Online, Inc., 476 F.3d 1372, 1376 (Fed. Cir. 2007)


            Where parties agreed that the term “marker substance” has no accepted meaning,
            “we construe [the term] only as broadly as is provided by the patent itself.”
                                                  Goldenberg v. Cytogen, Inc., 373 F.3d 1158, 1164 (Fed. Cir. 2004)



            “Idiosyncratic language, highly technical terms, or terms coined by the inventor are
            best understood by reference to the specification.”
                                                   Intervet, Inc. v. Merial Ltd., 617 F.3d 1282, 1287 (Fed. Cir. 2010)


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         Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 173 of 212
Absent a Common Theme, a “zone scene” Is Just a “zone”


    Morning




                                                                                14
           Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 174 of 212
Sonos’s Construction of “Zone Scene” Is the Same as “Zone”

                                                         Absent a common theme limitation,
                                                  a “Zone Scene” is no different than simply a “Zone.”




                                      Sonos Mot. at 8




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             Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 175 of 212
Sonos’s Proposal Reads Out “Scene” – the Heart of the Invention




                                                                    Sonos Mot. at 8




                                                                                      ’885 Patent at 8:43-52

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                 Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 176 of 212
Sonos’s Proposal Fails To Construe “Scene” – the Heart of the Invention




                                                                         ’885 Patent at 2:36-45




                                                                                                  ’885 Patent at 11:6-11


                                        ’885 Patent at 3:1-12
                                                                                                                       17
                Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 177 of 212
Sonos’s Construction is Improper Because it Reads Out Limitations



            In construing claims, however, we must give each claim term the
            respect that it is due.
            Pause Technology, LLC v. TiVo, Inc., 419 F.3d 1326, 1334 (Fed. Cir. 2005)




            A claim construction that gives meaning to all the terms of the claim
            is preferred over one that does not do so.
            Merck & Co., Inc. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005)




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                                   Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 178 of 212
            Sonos’s Construction Adds in “synchronous” to “zone scenes”




1. A multimedia controller including a processor, the        1. A computing device comprising: . . .
controller configured to:                                    receiving a first request to create a first zone scene comprising a first
receive, via a network interface, a zone configuration       predefined grouping of zone players including at least the first zone player
from a first independent playback device of a plurality      and a second zone player that are to be configured for synchronous playback
of independent playback devices, wherein the zone            of media when the first zone scene is invoked;
configuration is configured via the controller and           ...
maintained at the first independent playback device,         receiving a second request to create a second zone scene comprising a
and wherein the zone configuration characterizes one         second predefined grouping of zone players including at least the first zone
or more zone scenes, each zone scene identifying a           player and a third zone player that are to be configured for synchronous
group configuration associated with two or more of           playback of media when the second zone scene is invoked, wherein the third
the plurality of independent playback devices; and           zone player is different than the second zone player;
                                                             ...
cause a selectable indication of the received zone           based on the third request, causing the first zone player to transition from
configuration to be displayed, wherein the displayed         operating in the standalone mode to operating in accordance with the first
selectable indication is selectable to cause one or          predefined grouping of zone players such that the first zone player is
more of the zone scenes to be invoked by two or more         configured to coordinate with at least the second zone player to output media
of the plurality of independent playback devices.            in synchrony with output of media by at least the second zone player.

                                       ’206 Patent Cl. 1                                                                   ’966 Patent Cl. 1
                                                                                                                                             19
                   Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 179 of 212
Sonos’s Construction Reads In Limitations Rendering the Claims Superfluous



                 Any other conclusion renders the reference to 30° superfluous.
                               Elekta Instrument S.A. v. O.U.R. Sci. Int’l, Inc., 214 F.3d 1302, 1307 (Fed. Cir. 2000)




                 If we were to read the “even when perfectly formed” requirement
                 into the graphical separation limitation for all claims, we would
                 effectively be rendering claims 9 and 11 superfluous. This we will
                 not do.
                             Xerox Corp. v. 3Com Corp., 267 F.3d 1361, 1366, 60 U.S.P.Q.2d 1526 (Fed. Cir. 2001)




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     Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 180 of 212
A “Zone Scene” Is a “Theme”—Not Just a Group




                                                                            ’885 Patent at 8:47-51




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                                                                       22
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The Theme Has Particular Attributes




                                                                       ’885 Patent at 8:47-51




                                                                       ’885 Patent at 9:20-30
                                                                                                23
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 183 of 212
The Theme Has Particular Attributes




                                                                       ’885 Patent at 8:47-51




                                                                       ’885 Patent at 9:20-30
                                                                                                24
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 184 of 212
The Theme Has Particular Attributes




                                                                       ’885 Patent at 8:47-51




                                                                       ’885 Patent at 9:20-30
                                                                                                25
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The Theme Has Particular Attributes




                                                                       ’885 Patent at 8:47-51




                                                                       ’885 Patent at 9:20-30
                                                                                                26
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 186 of 212
The Theme Has Particular Attributes




                                                                       ’885 Patent at 8:47-51




                                                                       ’885 Patent at 9:20-30
                                                                                                27
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 187 of 212
The Theme Has Particular Attributes




                                                                       ’885 Patent at 8:47-51




                                                                       ’885 Patent at 9:20-30
                                                                                                28
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                      Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 190 of 212
            Sonos Reads Out the “Common Theme” Requirement



Sonos contends: “every ‘speaker group’ that a user creates in a Cast-enabled playback system
                has some common theme, which in this context amounts to whatever common
                topic, subject, etc. led the user to decide that these particular Cast-enabled
                media players should be placed into a previously-saved group that allows for
                synchronous playback when invoked.”
                                                                            Sonos Infr. Contentions Ex. D (Dkt. 175-28) at 6.


Rebuttal:        If every speaker group “has some common theme,” then “common theme” is
                 meaningless.




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Infringement Cannot   be Based on
                 Case 3:20-cv-06754-WHA     a User’s
                                        Document             Subjective
                                                 323-1 Filed 08/15/22             State of Mind When
                                                                      Page 191 of 212

                                     Naming a Zone
   Sonos contends: “every ‘speaker group’ that a user creates in a Cast-enabled playback system has
                   some common theme, which in this context amounts to whatever common
                   topic, subject, etc. led the user to decide that these particular Cast-enabled
                   media players should be placed into a previously-saved group that allows for
                   synchronous playback when invoked.”
                                                                          Sonos Infr. Contentions Ex. D (Dkt. 175-28) at 6.


   Rebuttal:        There can be no infringement based on a user’s subjective state of mind




                    We are not prepared to assign a meaning to a patent claim that
                    depends on the state of mind of the accused infringer. We thus reject
                    Amazon’s special meaning
                                  Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1353 (Fed. Cir. 2001)



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“Zone Scene”Case
              Must        be More
                 3:20-cv-06754-WHA      Than
                                   Document       a Group
                                            323-1 Filed            Because
                                                        08/15/22 Page 192 of 212 the Claims
                      Already Require Grouping


                It is highly disfavored to construe terms in a way that renders them
                void, meaningless, or superfluous.
                               Wasica Fin. GmbH v. Cont’l Auto. Sys., Inc., 853 F.3d 1272, 1288 (Fed. Cir. 2017)




                                                      ’885 Patent, Claim 1 (excerpted)
                                                                                                                   33
                    Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 193 of 212
            A (prior art) Group Name Cannot Be a “Zone Scene”
Sonos argues:    The accused Google Home app allows “the user to input a name for the
                 ‘speaker group,’” this “serves as the user’s shorthand label of the common
                 theme.”

Response:       The admitted prior art in the specification (i.e., “traditional systems”)
                disclosed names like “morning,” “evening,” and “weekend.”




                                                                                           ’885 Patent at 2:9-16

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                                Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 194 of 212
                  Examples of Speaker Group Naming in the Prior Art




Dkt. 249-2 at 5 (2004 Yamaha DME 3.5 Manual)




                                                                                         Dkt. 249-3 at 5 (2004 Bose Freespace Manual)

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        Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 196 of 212
Sonos Argues That a Group Name Is a “Zone Scene”



  Bed                                                                          Den




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                 Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 197 of 212
A Name Is Not a “Scene” or a “Theme” Because It Can be Called Anything




                         1                                        B                     Garage




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                                                                       39
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A Name is Not a Scene Because It Lacks Any Attributes




                                                                               ’885 Patent at 8:47-51




                                                                               ’885 Patent at 9:20-30
                                                                                                        40
              Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 200 of 212
             Google Does Not Infringe Zone Scenes


●   “Zone scene” has already been construed and requires a
    “common theme”

●   Saving a group or naming it does not transform a group
    into a “zone scene”

●   Google implements plain speaker grouping without scenes
    – Sonos has not argued that Google implements scenes through
       volume, music, equalization, or play mode




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  The Accused Products Do Not Receive an Indication
That the “Zone Player Has Been Added to” a Zone Scene




                                                                                42
Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 202 of 212
          Relevant Claim Language




                                                                       43
                         Case 3:20-cv-06754-WHA Document 323-1 Filed 08/15/22 Page 203 of 212
“Indication That the First Zone Player Has Been Added to a First Zone Scene”

                   Step 1:                                                               Step 2:
       Zone Player added to the group                           Zone Player is notified by the controller that it has been
                                                                                   added to the group




                                                                                                                             44
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       The Accused Products Do Not Receive An Indication
“including at least the first zone player and a second zone player”




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The Claimed Indication Must Include the Members of the Group




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